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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                   Plaintiff,                          4:22-CR-3077

vs.                                                      ORDER

NEIL SURESH CHANDRAN,

                   Defendant.


      This matter is before the Court on the defendant's appeal (filing 49) of
the Magistrate Judge's order (filing 44) that the defendant be detained pending
trial. The defendant's appeal will be denied.
      If a person is ordered detained by a Magistrate Judge, he may file a
motion for revocation or amendment of the order with the district judge. See
18 U.S.C. § 3145(b). Such a motion "shall be determined promptly." Id. When
reviewing the Magistrate Judge's order, the Court


      may hear and consider additional evidence not considered by the
      magistrate judge if that evidence was not available to be presented
      to the magistrate judge at the hearing held under 18 U.S.C. §
      3142(f) or for other good cause shown. In the alternative, the
      district judge may remand the matter to the magistrate judge to
      reopen the hearing. Unless additional evidence is received on
      review, the district judge reviews an order of release or detention
      de novo on the record made before the magistrate judge.


NECrimR 46.2. The defendant hasn't offered additional evidence or asked for
the opportunity to present any additional evidence, see filing 49, so the Court
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has conducted a de novo review of the record, see NECrimR 46.2, including (but
not limited to) the audio recording of the hearing held by the Magistrate Judge
on the motion to review detention (filing 46).
      Pursuant to § 3142(e)(1), a defendant shall be detained pending trial if,
among other things, the Court finds that "no condition or combination of
conditions will reasonably assure the appearance of the person as required and
the safety of any other person and the community." Only if the government
shows by clear and convincing evidence that no release conditions will
reasonably assure the safety of the community, or by a preponderance of the
evidence that no conditions will reasonably assure the defendant's appearance,
can a defendant be detained before trial. United States v. Kisling, 334 F.3d 734,
735 (8th Cir. 2003).
      On its de novo review of the record, the Court fully agrees with the
Magistrate Judge's findings and conclusion that the defendant poses a clear
and convincing risk of flight if released. Accordingly, the defendant will be
detained pending trial.


      IT IS ORDERED that the defendant's appeal (filing 49) is denied.


      Dated this 4th day of October, 2022.

                                                 BY THE COURT:


                                                 John M. Gerrard
                                                 United States District Judge




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